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                           EXHIBIT B
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                                          Cash Contributions

1.      Scheduled Cash Contributions.
        On each date specified in the table below (column (a)), the Reorganized Debtor shall
deliver, or cause to be delivered, to the Talc Personal Injury Trust Cash Contributions in the
amount set forth opposite such date (column (b)).

                                                         Total Amount of Cash
                                                           Contribution to be
                            Delivery Date for Cash       Delivered to the Talc
                                 Contribution*           Personal Injury Trust
                                       (a)                          (b)
                           Effective Date              $2,000,000,0002,487,500,0
                                                            00, as adjusted**
                           1st Anniversary of Petition $2,000,000,0002,487,500,0
                           Date                            00, as adjusted***
                           2nd Anniversary of            $740,000,0001,600,000,00
                           Petition Date                     0, as adjusted***
                           3rd Anniversary of Petition $740,000,000400,000,000,
                           Date                             as adjusted***
                           7th Anniversary of Petition        $87,500,0000
                           Date****
                           12th Anniversary of           $483,000,000388,000,000
                           Petition Date
                           17th Anniversary of           $483,000,000383,000,000
                           Petition Date
                           22nd Anniversary of           $483,000,000383,000,000
                           Petition Date
                           25th Anniversary of           $481,500,000481,000,000
                           Petition Date
                                   TOTAL                      $7,498,000,000
                                                            as8,610,000,000 as
                                                                 adjusted


*     No Cash Contribution shall be delivered prior to the Effective Date. If the delivery date for
      a Cash Contribution set forth below occurs prior to the Effective Date, such Cash
      Contribution shall instead be delivered on the Effective Date.

**    The amount to be delivered to the Talc Personal Injury Trust on the Effective Date shall be
      adjusted as follows:

        (a)      commencing on the first Business Day after the Confirmation Date, interest shall
                 accrue on such amount at the rate of 4.41% per annum, with interest to be
                 calculated (i) on the basis of a 365/366-day year and paid for the actual number of
                 days elapsed and (ii) taking into account the amounts and dates of any Cash



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                 advances made by the Debtor in accordance with theany Trust Expense
                 Advancement Order prior to the Effective Date; and

        (b)      such amount shall be reduced by the aggregate amount of any Cash advanced by
                 the Debtor in accordance with theany Trust Expense Advancement Order prior to
                 the Effective Date.

***     If the delivery date set forth for such Cash Contribution occurs prior to the Effective Date
        and, accordingly, such Cash Contribution is to be delivered on the Effective Date, the
        amount to be delivered to the Talc Personal Injury Trust shall be adjusted as follows:
        commencing on the first Business Day after the delivery date set forth for such Cash
        Contribution, interest shall accrue on such amount at the rate of 4.41% per annum, with
        interest to be calculated on the basis of a 365/366-day year and paid for the actual
        number of days elapsed.

2.      Additional Cash Contributions.
****    While No Cash Contribution is due on the seventh anniversary of the Petition Date, the
        $388,000,000 principal amount of the Talc PI Note is payable on the later of (1) the
        seventh anniversary of the Petition Date and (2) the first anniversary of the Effective
        Date.



In addition to the Cash Contributions contemplated by Section 1 of this Exhibit C, the
Reorganized Debtor shall deliver, or cause to be delivered, to the Talc Personal Injury Trust the
following Cash Contributions: (1) within sixty (60) days of the Effective Date, a Cash
Contribution in the amount of $250,000,000; (2) on the first anniversary of the Effective Date,
$250,000,000; and (3) on the second anniversary of the Effective Date, $600,000,000. Cash
Contributions made pursuant to this Section 2 of this Exhibit C shall be segregated by the Talc
Personal Injury Trust and used by the Talc Personal Injury Trust solely to process and pay
Channeled Talc Personal Injury Claims processed by the Talc Personal Injury Trust under the
Individual Review Process (as such term is defined in the Trust Distribution Procedures).




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